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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                      Case No. 07-cr-45-04-PB

Ricardy Roseaux, et al.

                               O R D E R


     The defendant, through counsel, has moved to continue the

July 10, 2007 trial in the above case, citing newly appointed

counsel’s need for additional time to prepare for trial.             The

government and co-defendants do not object to a continuance of

the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from July 10, 2007 to August 21, 2007.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The June 19, 2007 final pretrial conference is continued to

July 24, 2007 at 3:00 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

May 24, 2007

cc:   David W. Ruoff, Esq.
      Glenn Geiger, Esq.
      Harry Batchelder, Esq.
      R. Brian Snow, Esq.
      Bjorn Lange, Esq.
      Peter Papps, Esq.
      United States Probation
      United States Marshal




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